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                        EXHIBIT A
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David Ringer, CPA
Eisner Advisory Group LLC
733 Third Avenue
New York, NY 10017
212 891-4092

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re

         SCIENCE, LANGUAGE AND ARTS                                                 Case No. 22-40065 (ess)
         INTERNATIONAL SCHOOL,                                                      Chapter 7

                   Debtor.
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                DECLARATION OF DAVID RINGER IN SUPPORT OF THE
         APPLICATION FOR THE RETENTION OF EISNER ADVISORY GROUP LLC
            AS ACCOUNTANTS FOR THE CHAPTER 7 TRUSTEE PURSUANT TO
        SECTION 327(a) OF THE BANKRUPTCY CODE EFFECTIVE JANUARY 13, 2022

           David Ringer, being duly sworn, deposes and states that the following is true to

  the best of my knowledge, information and belief:

            1.       I am a Certified Public Accountant and a partner of Eisner Advisory LLC

  ("EAG"), which maintains offices at 733 Third Avenue, New York, New York 10017,

  and as such am familiar with the facts and circumstances set forth herein.

           2.        My firm has extensive familiarity with forensic accounting practices in

  insolvency matters in the bankruptcy courts.

           3.        This declaration is being submitted in accordance with the application

  of Richard J. McCord as the Trustee ("Trustee") for the estate of Science, Language

  and Arts International School ("Debtor") to retain EAG as accountants to the

  Trustee in the above-captioned Chapter 7 case.
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       4.      To the best of my knowledge, neither I nor any member of EAG represent

any professional in this case, nor am I or any member of EAG associated with the Debtor,

any creditors or any other party in interest in these cases, the United States Trustee or any

person employed in his office, and are "disinterested" as such term is defined by Section

101(14) aid 327 of title 11 of thellnited States Code ("Bankruptcy Code").

       5.     Neither I nor EAG holds or represents interest or that would be adverse

to the Debtor or the Debtor's estate.

       6.     EAG has been and is currently retained by the Trustee as accountants in

other Chapter 7 cases pending before the U.S. Bankruptcy Court of the Eastern District of

New York that were/are unrelated to this case.

       7.     I have reviewed a list of creditors and officers of the Debtor obtained from

the documents on file with the Bankruptcy Court including the Petitions and schedules

and reviewed the records of EAG and have determined to the best of my knowledge and

after due inquiry within EAG, that EAG has not represented any such entity. We will

continue to review our records and files and will advise all parties if we become aware

of any such connections.

       8.     As part of its practice, EAG appears in cases, proceedings and

transactions involving many different creditors, shareholders, attorneys, accountants,

financial consultants, investment bankers, trustees and other entities, some of which

may be or represent claimants and/or parties-in-interest in this case. EAG does not

represent any such entity in connection with the pending case or have a relationship

with any such entity or professional.




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       9.     EAG further represents that our research did not reveal any fact or

situation that would represent a conflict of interest for EAG.

       10.    The Trustee has requested that we provide the following services:

             a)      Assisting in securing the books and records of the Debtor.

             b)      Assisting the Trustee in analyzing claims which have been filed

                     against the Debtor and the investigation of any assets transferred

                     by the Debtor.

             c)      Conducting financial investigations that are appropriate and necessary

                     under the circumstances, including the investigation of the possibility

                     of transfers of assets for less than their fair market value, preference

                     payments and fraudulent transfers.

             d)      Reviewing pre-petition books and records, as appropriate, and

                     assisting the Trustee, if necessary, in the preparation and filing of

                     various forms and schedules with the Court, taxing authorities

                     and all other interested parties.

             e)      Assisting the Trustee, if necessary, in the control, cataloging and

                     evaluation of assets.

             f)      Providing tax advice and computations relating to estate assets

                     sold by the Trustee.

             g)      Preparing the estate's annual income tax returns, if appropriate.

             h)      Performing any other services that may be required in our role as

                     accountants to the Trustee which may be necessary to protect the

                     interests of the estate.




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        11.    All services shall be planned and directly supervised by members of the

Bankruptcy and Restructuring Department of BAG and subject to the review and

authorization of the Trustee.

        12.    The services to be rendered will be charged at the following rates:

               Partner                                       $570 - $610 per hour

               Director/Senior Manager                       $440 - $500 per hour

               Manager                                       $340 - $360 per hour

               Senior                                        $295 - $300 per hour


               Staff Assistants/Paraprofessional             $205 - $295 per hour

        13.    The Staff Assistants/Paraprofessionals referred to in Paragraph 12 herein

does not refer to administrative staff but rather to professionals and paraprofessionals

who will supply services in connection with the engagement. No clerical or

administrative services will be billed to the estate.

        14.   Prior to any increases in the BAG rates, or to any individual retained by BAG

and providing services in this case, BAG shall file a supplemental affidavit with the Court

and provide 10 business days’ notice to the Debtor and to the United States Trustee. The

supplemental affidavit shall explain the basis for the requested rate increases in accordance

with 330(a)(3)(F) of the Bankruptcy Code and state whether the Trustee has consented to

the rate increase. The United States Trustee retains all rights to object to any rate increase

on all grounds including, but not limited to, the reasonableness standard provided for in

Section 330 of the Bankruptcy Code.

        15.   BAG shall seek to be compensated in accordance with and will file applications

for allowance of its compensation and expenses.

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          16.   WHEREFORE, it is respectfully requested that an order be entered

authorizing the retention of BAG to act as accountants and advisors to the Trustee and the

Estate effective January 13, 2022.




Dated: New York, New York                      Respectfully submitted,
       January 19, 2022

                                               /s/ David Ringer_____________
                                               David Ringer, Partner
                                               EISNER ADVISORY GROUP LLC
                                               733 Third Avenue
                                               New York, NY 10017
                                               (212)891-4092




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